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                                UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                           O RLANDO D IVISION

    FLOYD M. MINKS,

                                  Plaintiff,

    -vs-                                                    Case No. 6:05-cv-1894-Orl-31KRS

    POLARIS INDUSTRIES, INC.,

                            Defendant.
    ______________________________________

                                                ORDER

           This cause came on for consideration without oral argument on the following motion:

               MOTION:        PLAINTIFF’S MOTION UNDER RULE 56 FOR
                              SUMMARY JUDGMENT ON INVENTORSHIP (Doc. No.
                              40)

               FILED:      August 1, 2006
               _____________________________________________________________

               THEREON it is ORDERED that the motion is DENIED.


           The Plaintiff, Floyd M. Minks (“Minks”), is the only person named on United States Patent

    No. 4,664,080 (the ‘080 Patent). The Defendant, Polaris Industries, Inc. (“Polaris”) contends that

    one of its employees, David Thompson (“Thompson”), contributed to the invention and should

    have been named as a co-inventor, and that the failure to do so renders the patent unenforceable.

           Minks submits that Thompson testified that his proposed reverse speed limiter involved a

    ground speed monitor, rather than the engine speed monitor utilized in the claim 2 of the ‘080

    Patent. Minks also argues that Thompson is unable to produce any evidence to corroborate his
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    contention that he was a co-inventor, and that the evidence shows that Thompson and Polaris long

    ago abandoned any such contention. However Polaris has produced evidence that it was doing

    reverse speed safety testing of its ATVs prior to Minks’ application for a patent, and that those

    tests examined engine RPMs as well as ground speed. Polaris also points to evidence that

    Thompson may have had a hand in other elements of the ‘080 Patent aside from the engine-speed

    monitoring circuit, such as a vehicle transmission switch that provides an input to determine when

    the vehicle has been shifted into reverse. Finally, Polaris also contends that additional

    corroborating evidence of Thompson’s status as co-inventor – specifically, Thompson’s file

    relating to his design and development of a reverse speed limiter – was lost due to Minks’ delay in

    bringing this suit.

            Because of the presumption that the inventor named on an issued patent is the correct

    inventor, misjoinder of an inventor must be proven by clear and convincing evidence. See Fina

    Oil and Chemical Co. v. Ewen, 123 F.3d 1466, 1472 (Fed. Cir. 1997). However, patent law sets

    no “explicit lower limit on the quantum or quality of inventive contribution required for a person

    to qualify as a joint inventor.” Id. at 1473. “The determination of whether a person is a joint

    inventor is fact specific, and no bright-line standard will suffice in every case.” Id. Because of

    the existence of disputed issues of material fact, and particularly because of the laches issue, the

    motion must be DENIED.

            DONE and ORDERED in Chambers, Orlando, Florida on December 12, 2006.




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